

Matter of Trinity Y. (Taneisha U.) (2023 NY Slip Op 05675)





Matter of Trinity Y. (Taneisha U.)


2023 NY Slip Op 05675


Decided on November 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2023

Before: Kapnick, J.P., Singh, Moulton, Shulman, Rosado, JJ. 


Docket No. N5102/21 Appeal No. 994-994A Case No. 2023-00626 

[*1]In the Matter of Trinity Y., A Child Under Eighteen Years of Age, etc., Taneisha U., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


Larry Bachner, New York, for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Eva L. Jerome of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Judith Stern of counsel), Attorney for the child.



Order, Family Court, New York County (Maria Arias, J.), entered on or about January 11, 2023, which, inter alia, denied respondent's motion to dismiss the underlying petition, unanimously affirmed, without costs. Appeal from that part of the order which denied respondent's motion to modify a temporary order of protection dated August 10, 2022, unanimously dismissed, without costs, as moot.
Application by respondent's assigned counsel to be relieved as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1st Dept 1976]). We have reviewed the record and agree with counsel that there are no nonfrivolous issues that could be raised on this appeal.
Respondent mother's challenge to the order of protection dated August 10, 2022, is moot, as the order expired by its own terms on September 12, 2022, and was succeeded by subsequent orders of protection (see Matter of Camille L. [Dawn F.], 170 AD3d 580 [1st Dept 2019]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2023








